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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 VIDEOSHARE, LLC,                                    CIVIL ACTION NO. 6:21-CV-00254-ADA

                 Plaintiff,
 v.
                                                     JURY TRIAL DEMANDED
 FACEBOOK, INC.

                 Defendant.

                       JOINT CLAIM CONSTRUCTION STATEMENT

       Pursuant to the Scheduling Order (Dkt. 36), Plaintiff VideoShare, LLC and Defendant

Facebook, Inc. submit this Joint Claim Construction Statement.

       I.       AGREED-UPON CLAIM TERMS

 Term                                                Agreed Construction
 “first client”                                      “sharing device/user”
 “second client”                                     “viewing device/user”
 “the identified video content”                      “plain and ordinary meaning where the plain
                                                     and ordinary meaning means that the
                                                     ‘identified video content’ must have a
                                                     corresponding identifier”

       II.      DISPUTED CLAIM TERMS

 Claim Term                        Plaintiff’s Construction         Defendant’s Construction
 “depending on a                   “after determining which of      “after determining which of
 compatibility of the second       the first format or second       the first format and second
 server system or a                format is most compatible        format is most compatible
 compatibility of the second       with the second server system    with the second server system
 client with the first format or   or the second client”            or the second client”
 the second format”
 “server system”                   Plain and ordinary meaning       Indefinite




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Dated: December 20, 2021                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record via the Court’s ECF system on December 20, 2021.


                                            /s/ William D. Ellerman
                                            William D. Ellerman




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